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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
                                                          CIVIL MINUTES - TRIAL

 Case No.        8:20-cv-00993-MCS-ADS                                                                        Date      May 15, 2024
 Title:          Netlist Inc. v. Samsung Electronics Co., Ltd.

 Present: The Honorable           Mark C. Scarsi, United States District Judge
                      Stephen Montes Kerr                                                                     Amy Diaz
                            Deputy Clerk                                                                 Court Reporter/Recorder


                Attorneys Present for Plaintiff(s):                                                Attorneys Present for Defendants:
Jason G. Sheasby, Lisa Sharrock Glasser, A. Matthew                             Marc F. Feinstein, Amy R. Lucas, Darin Snyder, Marc J.
Ashley, and Michael Harbour                                                     Pensabene, Anton Metlitsky, and Emilie W. Hamilton
                      Day Court Trial             Second                                    Day Jury Trial
                                              st
            One day trial:          Begun (1 day);         X     Held & Continued;                  Completed by jury verdict/submitted to court.
       The Jury is impaneled and sworn.
       Opening statements made by
 ✔     Witnesses called, sworn and testified.         ✔   Exhibits Identified         ✔     Exhibits admitted.

       Plaintiff(s) rest.                                 Defendant(s) rest.
       Closing arguments made by                          plaintiff(s)                    defendant(s).                Court instructs jury.
       Bailiff(s) sworn.                                  Jury retires to deliberate.                                  Jury resumes deliberations.
       Jury Verdict in favor of                           plaintiff(s)                    defendant(s) is read and filed.
       Jury polled.                                       Polling waived.
       Filed Witness & Exhibit Lists                      Filed jury notes.               Filed jury instructions.
       Judgment by Court for                                                              plaintiff(s)                 defendant(s).
       Findings, Conclusions of Law & Judgment to be prepared by                          plaintiff(s)                 defendant(s).
       Case submitted.               Briefs to be filed by
       Motion to dismiss by                                                      is             granted.             denied.           submitted.
       Motion for mistrial by                                                    is             granted.             denied.           submitted.
       Motion for Judgment/Directed Verdict by                                   is             granted.             denied.           submitted.
       Settlement reached and placed on the record.
       Clerk reviewed admitted exhibits with counsel to be submitted to the Jury/Court for deliberation/findings.
       Counsel stipulate to the return of exhibits upon the conclusion of trial. Exhibit Release Form prepared and filed.
       Trial subpoenaed documents returned to subpoenaing party.
 ✔ Case continued to                       May 16, 2024, at 8:30 a.m.                         for further trial/further jury deliberation.
 ✔     Other: Ex Parte Application to Exclude Discussion of Other Supply Agreements is deemed DENIED as moot [540].
                The Court defers ruling on Ex Parte Application to Exclude Live Testimony of Mr. Hyun-Ki Ji [537]
                                                                                                                         6        :          31
                                                                                Initials of Deputy Clerk                       SMO
cc:


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